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      UNITED STATES COURT OF INTERNATIONAL TRADE


JANSSEN ORTHO LLC,

     Plaintiff,
                                  Before: Jennifer Choe-Groves, Judge
v.
                                  Court No. 13-00052
UNITED STATES,

     Defendant.



JANSSEN ORTHO LLC,

     Plaintiff,
                                  Before: Jennifer Choe-Groves, Judge
v.
                                  Court No. 13-00296
UNITED STATES,

     Defendant.



JANSSEN ORTHO LLC,

     Plaintiff,
                                  Before: Jennifer Choe-Groves, Judge
v.
                                  Court No. 14-00094
UNITED STATES,

     Defendant.
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Court Nos. 13-00052, 13-00296, 14-00094, 14-00198                               Page 2



 JANSSEN ORTHO LLC,

       Plaintiff,
                                         Before: Jennifer Choe-Groves, Judge
 v.
                                         Court No. 14-00198
 UNITED STATES.

       Defendant.


                                     ORDER

      Upon consideration of Plaintiff’s Consent Motion for Extension of Time and

Status Report (“Consent Motion”), Court No. 13-00052, ECF No. 42; Court No.

13-00296, ECF No. 300; Court No. 14-00094, ECF No. 38; and Court No. 14-

00198, ECF No. 35, and all other papers and proceedings in this action, it is hereby

      ORDERED that the Consent Motion, Court No. 13-00052, ECF No. 42;

Court No. 13-00296, ECF No. 300; Court No. 14-00094, ECF No. 38; and Court

No. 14-00198, ECF No. 35, is granted; and it is further

      ORDERED that, should the Parties be unable to resolve Court Numbers 13-

00052; 13-00296; 14-00094; and 14-00198, Plaintiff shall file its Complaint in

Court Number 13-00052 no later than October 17, 2022; and it is further
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      ORDERED that the Parties shall provide a Status Report on their efforts to

resolve these matters and whether they agree to attempt mediation no later than

October 17, 2022.




                                                      /s/ Jennifer Choe-Groves
                                                    Jennifer Choe-Groves, Judge
Dated:     September 1, 2022
         New York, New York
